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 1    STEVE W. BERMAN (pro hac vice)
      SEAN R. MATT (pro hac vice)
 2    HAGENS BERMAN SOBOL SHAPIRO LLP
 3    1301 Second Avenue, Suite 2000
      Seattle, Washington 98101
 4    Telephone: (206) 623-7292
      Facsimile: (206) 623-0594
 5    steve@hbsslaw.com
 6
      sean@hbsslaw.com

 7    CHRISTOPHER R. PITOUN (SBN 290235)
      HAGENS BERMAN SOBOL SHAPIRO LLP
 8    301 North Lake Avenue, Suite 920
      Pasadena, California 91101
 9    Telephone: (213) 330-7150
10    Facsimile: (213) 330-7152
      christopherp@hbsslaw.com
11
      Counsel for Plaintiffs and the Class
12

13
      [Additional Counsel listed on Signature Page]

14
                              UNITED STATES DISTRICT COURT
15
                             CENTRAL DISTRICT OF CALIFORNIA
16
                                     WESTERN DIVISION
17
      LESLEY CONTI, et al., on behalf of            Case No.: 2:19-cv-2160 RGK (ASx)
18    themselves and all others similarly
      situated,                                     [The Honorable Cormac J. Carney]
19
                                     Plaintiffs,    JOINT NOTICE OF
20                                                  SETTLEMENT IN PRINCIPLE
              v.
21
      AMERICAN HONDA MOTOR CO.,                     Second Am. Compl. Filed: November
22    INC, a California corporation,                4, 2019

23                                 Defendant.       CLASS ACTION

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                               JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
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 1            Plaintiffs and Defendant American Honda Motor Co., Inc. (“AHM”) respectfully
 2
      provide this Notice to the Court that the Parties have reached an agreement in principle,
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 4    with the valuable assistance and efforts of the Honorable Dickran M. Tevrizian (ret.)

 5    serving as mediator, to fully settle and resolve this action on a class-wide basis. The
 6
      Parties have executed a Term Sheet and anticipate formalizing the Term Sheet into a
 7

 8    Settlement Agreement, performing confirmatory discovery that will involve review of

 9    materials and information by a mutually-agreed upon technical expert who is yet to be
10
      retained, obtaining requisite formal approvals through the Honda quality approval
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12    process as promptly as practicable, and then moving the Court soon thereafter to grant

13    preliminary approval of the proposed class action settlement.
14
               AHM has agreed to pay reasonable attorneys’ fees, costs, and Class
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16    Representative Service Awards, as may be mutually agreed by the Parties, or awarded

17    by the Court, with rights reserved. The proposed Settlement, however, is not conditioned
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      upon the Parties reaching an amicable resolution on these issues. Rather, the Parties
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20    will engage in further discussions in an attempt to resolve those remaining issues. In
21    the event the Parties are unable to resolve their respective differences, the Parties will
22
      reserve their respective rights, mutually brief the issues, and agree to submit the issues
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24    for the Court to decide at the Court’s discretion.
25            In light of the Settlement in principle, the Parties respectfully request that the
26
      Court continue to stay the telephonic status conference. (Doc. No. 63)
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28                              JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
                                                   1
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 1
      Dated: October 2, 2020                 Respectfully submitted,
 2

 3
                                             HAGENS BERMAN SOBOL SHAPIRO LLP

 4                                           By /s/ Christopher R. Pitoun
 5                                              Christopher R. Pitoun (SBN 290235)
                                             301 North Lake Avenue, Suite 920
 6                                           Pasadena, California 91101
 7                                           Telephone: (213) 330-7150
                                             Facsimile: (213) 330-7152
 8                                           christopherp@hbsslaw.com
 9
                                             Steve W. Berman (pro hac vice)
10                                           Sean R. Matt (pro hac vice)
11                                           HAGENS BERMAN SOBOL SHAPIRO LLP
                                             1301 Second Avenue, Suite 2000
12                                           Seattle, Washington 98101
13                                           Telephone: (206) 623-7292
                                             Facsimile: (206) 623-0594
14                                           steve@hbsslaw.com
15                                           sean@hbsslaw.com

16                                           Jeffrey S. Goldenberg (pro hac vice)
17                                           Todd Naylor (pro hac vice)
                                             GOLDENBERG SCHNEIDER, LPA
18                                           4445 Lake Forest Drive, Suite 490
19                                           Cincinnati, Ohio 45242
                                             Telephone: (513) 345-8291
20                                           Facsimile: (513) 345-8294
21                                           jgoldenberg@gs-legal.com
                                             tnaylor@gs-legal.com
22

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24

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28                             JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
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 1                                           John C. Weisensell (pro hac vice)
 2
                                             NIEKAMP, WEISENSELL, MUTERSBAUGH
                                             & MASTRANTONIO LLP
 3                                           23 South Main Street, Third Floor
 4
                                             Akron, Ohio 44308
                                             Telephone: (330) 434-1000
 5                                           Facsimile: (330) 434-1001
 6                                           jack@nwm-law.com

 7                                           Attorneys for Plaintiffs

 8
      Dated: October 2, 2020                 Respectfully submitted,
 9

10                                           KING & SPALDING LLP

11                                           By /s/ Livia M. Kiser
12                                           Livia M. Kiser (SBN 285411)
                                             633 W. 5th Street, Suite 1600
13                                           Los Angeles, California 90071
14                                           Telephone: (213) 443-4355
                                             Facsimile: (213) 443-4310
15                                           lkiser@kslaw.com
16
                                             Michael B. Shortnacy (SBN 277035)
17                                           KING & SPALDING LLP
18                                           633 W. 5th Street, Suite 1600
                                             Los Angeles, California 90071
19                                           Telephone: (213) 443-4355
20                                           Facsimile: (213) 443-4310
                                             mshortnacy@kslaw.com
21

22

23

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28                             JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
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 1                                         Andrew J. Chinsky (pro hac vice)
 2
                                           KING & SPALDING LLP
                                           353 N. Clark Street, 12th Floor
 3                                         Chicago, Illinois 60622
 4
                                           Telephone: (312) 995-6333
                                           Facsimile: (312) 995-6330
 5                                         achinsky@kslaw.com
 6                                         Attorneys for Defendant
 7                                         American Honda Motor Co., Inc.

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28                           JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
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